
650 S.E.2d 443 (2007)
STATE
v.
Joan Myrtle SHANNON.
No. 177A07.
Supreme Court of North Carolina.
July 30, 2007.
William P. Hart, Senior Deputy Attorney General, Amy C. Kunstling, Assistant Attorney General, Edward W. Grannis, Jr., District Attorney, for State of NC.
Constance E. Widenhouse, Assistant Appellate Defender, for Shannon.
The following order has been entered on the motion filed on the 30th day of July 2007 by Conference of District Attorneys for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 30th day of July 2007."
